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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MONTE SILVER, et al.,

        Plaintiffs,

 v.                                               Civil Action No.: 1:19-cv-00247-APM

 INTERNAL REVENUE SERVICE, et al.,

        Defendants.


      ORDER GRANTING AMICI CURIAE, REPUBLICANS OVERSEAS, INC., AND
       SEVERAL OF ITS CHAPTERS LEAVE TO FILE MEMORANDUM OF LAW
        IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Upon consideration of the motion entitled “Motion for Leave to File Memorandum of Law

of Amici Curiae, Republicans Overseas, Inc., and several of its Chapters, in Support of Plaintiffs’

Motion for Summary Judgment” (for convenience, the “Motion”), filed by Amici Curiae,

Republicans Overseas, Inc. (“RO”), as well as several of its chapters, including without limitation

Republicans Overseas Albania, Association Republicans Overseas France (“RO-France”),

Republicans Overseas Hellenic Republic, Republicans Overseas Israel, A.R., Republicans

Overseas North Macedonia, Republicans Overseas Sweden, Republicans Overseas Switzerland,

and Republicans Overseas UK (collectively, the “RO Amici Curiae”), to which Plaintiffs consent,

and considering any opposition by Defendants, it is now hereby

       ORDERED that the Motion is GRANTED; and

       FURTHER ORDERED that the RO Amici Curiae are granted leave to file a joint

memorandum of law in support of the pending Motion for Summary Judgment [Dkt. No. 47],

provided that the amici curiae memorandum is (i) filed within seven (7) days of the entry of this
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order, (ii) less than twenty-five pages in length, and (iii) conforms with Local Civil Rule 5.4 and

Rule 29(a)(4) of the Federal Rules of Appellate Procedure; and

       FURTHER ORDERED that additional foreign-registered chapters affiliated with RO

may join in the memorandum of law to be filed by the RO Amici Curiae, without needing to seek

further leave of this Court.


Entered this ______ day of ___________________, 2020.

                                             Amit P. Mehta Digitally signed by Amit P. Mehta
                                                           Date: 2020.06.02 07:35:34 -04'00'


                                             Judge, U.S. District Court
                                             for the District of Columbia

cc: All parties and counsel of record.




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